Case 4:19-cr-00172-RGE-HCA Document 124 Filed 05/19/21 Page 1of 3

Jesuit Residence
of Saint Ignatius High School

 

Ad Majorem Dei Gloriam

AD 2021 May 7- ~
Friday of the Sth Week of Easter

-‘The Honorable Rebecca Goodgame Ebinger
Southern Iowa U S$ District Court

123 Hast Walnut Street

Des Moines IA 50309

Subject: May 28, 2021 sentencing of Jessica Reznicek

Your Honor, my name is Ben Jimenez, and I write from Cleaveland, Ohio. I am

a Catholic priest and belong to a-religious order called the Society of Jesus,
I heve familiarity with the Des Moines Catholic Worker through correspondence
with Frank Cordero, the "founding father" of the Des Moines Catholic Worker
(DMCW) and-through reading their newspéper "Vie Pacis" for a number of years,
It is through both Frank and "Vie Pacis" that I also have familiarity with.
Jessica” Regznicek, on whose behalf I write to you today, =

Jessica Reznicek has lived on and off at the DMCW for the last decade. It's
a community of 19-12 people, young and old, who dedicate themselves to the
corporal works of mercy as defined by the Catholic Church: feeding the °
hungry, providing drink to the thirsty, clothing the naked, visiting the
imprisoned, caring for the sick, and burying the dead. In addition, the
members of the DMC’} engage in Sublic protests and non-violent civil dis-—
obedience at places like the Des Moines Netional Guard Armory, Offut Air Force
Base in NE, and the Des Moines State House to call attention to the injustice
of our system which leaves the needs of the nation's poor unmet. It is the
non-violence aspect and the designation "domestic terrorist" that I would
like to address, ~

AS I mentioned, Jessica for a while left the DMCW to travel and visit friends.
Her time away included an extended stay with the Benedictine Sisters of Duluth,
MN, a group of Catholic nuns who live in a monastery. This surprised alot of

people but then again not really because Jessiéa is searching for a way to live
out her convictions. :

It was while she was away that we all learned of her activity involving the
Dakota Access Pipeline (DAP). Which is to say, Your Honér, Jessica consulted
none of the experienced and seasoned Catholic Worker community about her plan.

I want you to know that had she consulted the community veterans they would
have taken her to task for her proposed scheme. Why? Because her action was

violent, and out of step with Catholic Worker values. Despite living under the
DMCW roof for many months Jessica obviously did not think carefully about the
nature of her actions or the consequences. Catholic workers alweys extensively
discuss every aspect of a public witness that involves an arrest.

As her story goes, Jessica (and Ruby Montoya) wanted to stop the DAP, After a
number of successful sabotage efforts, they arrived at the pipeline one even—

“4

2926 Carroll Avenue + Cleveland, Ohio 44113-3427 + (216) 281-5392 + Fax (216) 651-6313
some

Case 4:19-cr-00172-RGE-HCA Document 124 Filed 05/19/21 Page 2 of 3

ing to discover that indeed oil was flowing. She and Ruby left the site de—
jected and upset for in their minds, they failed, ~

Had she been staying at the Catholic Worker, the community would have told her
that frustration and disappointment are par-for the course for anyone who works
for social justice. For example, the DCW have opposed United States war-mak-
ing efforts for the last 70 years — with very little to show for it. They know
the struggle for a peaceful world requires wrking like a trojan ~ for the long
haul. While the DMCW achieved no tangible results for their years of efforts,
what they do have is a principled and disciplined non-violent history, including
jail terms, on behalf of those on the receiving end of US firepower. And while
of the community members are now in their 70's, they continue their feithful,
nonviolent witness. All of this, Your Honor, the DMCW could have taught Jessica
had she been at the house,

Since their discovery of oil flowing through the DAP, I would say a year or so
passed, when a rather bizarre incident occured. Jessica and Ruby appeared on
@ nationally syndicated radio and computer live-—streamed program called "De—
mocracy now't on which they explained the how, why, where, and what of their
sabotage efforts, (You may search the world wide web for their names and
"democracy now" and watch the very video of which I speak on youtube). As
Jessica explained on the broadcast, they went public out of frustration.
They attended sit-ins, protests, engaged in hunger strikes, and wrote let-—
ters to elected officials — with no results, Their confession was an ef-—
fort to encourage others to take action against the DAP. Your Honor, no one
followed their example, and their public confession / amMouncement baffled
everyone,

Not long after their appearance on "democracy now" Jessica returned to the
Catholic Worker House, and within the following 12-months, the FBI came
knocking at their door,

People who work for justice need community for mutual suppvort and to have
people under a common roof with whom to discuss ideas and plans. JI think you_
can see that Jessica (and Ruby) had none of this — and now they will have to
face the consequences, :

been
Jessica has living and working abt the IMCW steadily for the past two years,
doing the work of 2-3 people. I was very happy to learn also that she has
been attending daily, catholic mess. She amd Ruby have strong convictions,
and they ected on them, While nobké in their attempts to save the water
tables of several states, they were eLS°imprudent, impatient, and lacking
in knowledge of the size and scale of their undertaking, and the consequences
of their choice of means. Plain talk, Your Honor; they made some, for Leck
of better terms "basic mistakes" in their activism on behalf of the earth and
its water,

While “imprudent and impatient" accurately describe them, there is a vhrase
which is inaccurate: domestic terrorists. Your Honor, you and I know that
designation belongs to Timothy McVeigh, The Unabomber, Antifa, the boogeloo
bois and enyone else who uses violent means agelinst the U S government.
Jessica end Ruby ‘did not heve this in mind at all.

Jessica and Ruby pled guilty to conspiracy to damage an energy facility, and
I ask you to sentence them accordingly. They are domestic, but certainly not

domestic terrorists, a

£ a. for ¥ time, and I have the honor to be,
5°

  
Case 4:19-cr-00172-RGE-HCA Document 124 Filed 05/19/21 Page 3 of 3

B diMbniZ SJ
2926 CAGHOLL AVE
ST. US

o
Ne

 
 

bIGH SCHOOL JHSUL™ CULBMNITY

cf Govhanerey ‘CLEVELAND GH 440 NEOPOST
Bb 44113

05/41/2021
11 MAY 2021PM 6L 'US POSTAGEM CLO 10 moter

aes,

ZIP 44113
041M11450825

 

| REBECCA GOODGAME EBINGER

p Thrempyram ctr
DISTRICT COVED iA...
4 f=

1“
VA US

 

“ray ~ * a ( F.
BAST WALNUT STREAT Be fj Ap
DES MCTNES TA 50309

. MY Tg,

] yf
\-RAYED & CLEARED BY U.S.M.9. (},

 

 
